                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                    VS
                    USA                                                   Ranae Norma Woodard
Case Number:       17cr1337-JLS                 WITNESS LIST                     Evidentiary Hearing

 DATE       PLF       DEF                                    WITNESS NAME
 8/6/2024      X             Ito Vidana – U.S. Probation Officer, Central District of California (telephonic)
                             (Direct Examination)
 8/6/2024      X             Brent Miller, San Bernardino Sheriff’s Department (Direct Examination)
 8/6/2024              X     Brent Miller, San Bernardino Sheriff’s Department (Cross Examination)
 8/6/2024      X             Brent Miller, San Bernardino Sheriff’s Department (Re-Direct)
 8/6/2024              X     Brent Miller, San Bernardino Sheriff’s Department (Re-Cross)
 8/6/2024      X             Brent Miller, San Bernardino Sheriff’s Department (Re-Direct)
 8/6/2024              X     Tina Woodard – Ms. Woodward’s mother (Direct Examination)
 8/6/2024      X             Kayla Lynn McAfee – Ms. Woodard’s daughter




                                              Analya Sanchez, Federal Defender’s Investigator




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